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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

NICHOLAS A. USLER, JON EVANS,       §
ANDREW ANDRADA, HANNAH VOSSEN,      §
NOAH TANZ, KENNY KIERMAN,           §
CHARLES SANKOWICH, BURCU KARACA,    §
and KARA GOZDE,                     §
                                    §
           Plaintiffs,              §
                                    §
v.                                  §                                  1:21-CV-447-RP
                                    §
VITAL FARMS, INC., MATTHEW O’HAYER, §
RUSSELL DIEZ-CANSECO, and           §
SCOTT MARCUS,                       §
                                    §
           Defendants.              §

                                              ORDER

       Before the Court is the report and recommendation of United States Magistrate Judge Mark

Lane concerning Defendant Vital Farms, Inc.’s (“Vital Farms”) Motion to Dismiss Under Federal

Rules of Civil Procedure 12(b)(6) and 9(b), (Dkt. 17), Defendants Matthew O’Hayer, Russell Diez-

Canseco, and Scott Marcus’s (the “Individual Defendants”) Motion to Dismiss Under Federal Rules

of Civil Procedure 12(b)(6) and 9(b), (Dkt. 18), Plaintiffs’ Consolidated Response, (Dkt. 22), and

Vital Farms and the Individual Defendants’ Consolidated Reply, (Dkt. 23). (R. & R., Dkt. 26). In his

report and recommendation, Judge Lane recommends that the Court deny Vital Farms’ motion and

grant the Individual Defendants’ motion. (Id. at 16). Vital Farms timely filed objections to the report

and recommendation, (Objs., Dkt. 27), and Plaintiffs filed a response, (Resp. Dkt. 28).

       A party may serve and file specific, written objections to a magistrate judge’s findings and

recommendations within fourteen days after being served with a copy of the report and

recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C.

§ 636(b)(1)(C). Because Vital Farms timely objected to the report and recommendation, the Court
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reviews the report and recommendation de novo. Having done so, the Court overrules Vital Farms’

objections and adopts the report and recommendation as its own order.

       Accordingly, the Court ORDERS that the report and recommendation of United States

Magistrate Judge Mark Lane, (Dkt. 26), is ADOPTED.

       IT IS ORDERED that Vital Farms’ motion, (Dkt. 17), is DENIED.

       IT IS FURTHER ORDERED that the Individual Defendants’ motion, (Dkt. 18), is

GRANTED. All claims against Defendants Matthew O’Hayer, Russell Diez-Canseco, and Scott

Marcus are DISMISSED.

       SIGNED on March 2, 2022.




                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE
